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 1   HEATHER E. WILLIAMS, #122664
     Federal Defender
 2   BENJAMIN D. GALLOWAY, #214897
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, CA 95814
 4
 5   Attorney for Defendant
     TIANA NAPLES
 6
 7
                               IN THE UNITED STATES DISTRICT COURT
 8
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                   ) No. 2:14-CR-00022 JAM
                                                 )
11                     Plaintiff,                )
                                                 ) WAIVER OF DEFENDANT’S PRESENCE
12     v.                                        )
                                                 )
13                                               )
     TIANA NAPLES,                               )
14                                               )
                           Defendant.            )
15                                               )
16          Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, defendant TIANA
17   NAPLES hereby waives the right to be present in person in open court upon the hearing of any
18   motion or other proceeding in this case, including, but not limited to, when the case is set for
19   trial, when a continuance is ordered, and when any other action is taken by the court before or
20   after trial, specifically, appearances for any hearing regarding modification of conditions of
21   supervised release.
22          Defendant hereby requests the Court to proceed during every absence which the Court
23   may permit to this waiver; agrees that the defendant’s interests will be deemed represented at all
24   times by the presence of the defendant’s attorney, the same as if the defendant were personally
25   present; and further agrees to be present in court ready for trial any day and hour the Court may
26   fix the defendant’s absence.
27          The defendant further acknowledges being informed of the rights under Title 18 U.S.C.
28

      Waiver of Appearance                           -1-
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 1   §§ 3161-3174 (Speedy Trial Act), and authorizes the defendant’s attorney to set times and dates
 2   under that Act without the defendant’s personal presence.
 3          The original signed copy of this waiver is being preserved by the attorney undersigned.
 4
 5   Dated: March 19, 2015
                                                 /s/ Tiana Naples
 6
                                                 TIANA NAPLES
 7                                               (Defendant)
                                                 Original retained by attorney
 8
 9          I agree and consent to my Client’s waiver of appearance.
10   Dated: March 19, 2015
                                                 /s/ Benjamin D. Galloway
11
                                                 BENJAMIN D. GALLOWAY
12                                               Assistant Federal Defender
                                                 Attorney for Defendant
13
14          IT IS SO ORDERED.
15   Dated: March 20, 2015
                                                 /s/ John A. Mendez____________
16                                               Hon. John A. Mendez
                                                 United States District Court Judge
17
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      Waiver of Appearance                         -2-
